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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAMON JAQUEZ

                           Plaintiff,
                                                            ORDER OF DISMISSAL
             - against -
                                                               20 Civ. 7590 (PGG)
THGPP LLC,

                           Defendant.




PAUL G. GARDEPHE, U.S.D.J.:

               The Court having been advised that all claims asserted herein have been settled, it

is ORDERED that the above-entitled action be, and hereby is, dismissed with prejudice but

without costs; provided, however, that if the settlement is not consummated within 60 days of

this order, either party may apply by letter within the 60-day period for restoration of the action

to the calendar of the undersigned, in which event the action will be restored. The Clerk of the

Court is directed to close the case. Any pending dates and deadlines are adjourned sine die, and

any pending motions are moot.

Dated: New York, New York
       January 20, 2021
